            Case 3:20-cv-01296-SI     Document 7    Filed 08/11/20   Page 1 of 7




Meredith D.M. Bateman, OSB #192273
Email: meredith.bateman@klgates.com
K&L Gates LLP
One SW Columbia Street, Suite 1900
Portland, OR 97204
Tel.: (503) 226-5724\Fax: (503) 248-9085

David Neu, admitted pro hac vice
Email: david.neu@klgates.com
K&L Gates LLP
925 Fourth Avenue, Suite 2900
Seattle, WA 98104

Attorneys for Defendants Wyndham
Resort Development Corp. and
Worldmark, The Club NPO




                           UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                   PORTLAND DIVISION

ARNO CAMPBELL, individually, and LORI
CAMPBELL, individually,                                              Case No. 20-01296-SI

                                   Plaintiffs      DEFENDANTS’ MOTION TO
       v.                                          DISMISS AND/OR TO COMPEL
                                                   PLAINTIFFS TO PARTICIPATE IN
                                                   ARBITRATION
WYNDHAM RESORT DEVELOPMENT
CORP.; WORLDMARK, THE CLUB NPO; and                ORAL ARGUMENT REQUESTED
JOHN DOES 1-50,

                               Defendants.




PAGE 1 – DEFENDANTS’ MOTION TO DISMISS AND/OR
                                                                                K&L GATES LLP
TO COMPEL PLAINTIFFS TO PARTICIPATE IN ARBITRATION                         ONE SW COLUMBIA STREET
                                                                                  SUITE 1900
                                                                              PORTLAND, OR 97204
                                                                            TELEPHONE: (503) 228-3200
               Case 3:20-cv-01296-SI     Document 7      Filed 08/11/20      Page 2 of 7




          Pursuant to Local Rule 7-1, counsel for Defendants conferred with Plaintiffs’ counsel via

email and telephone concerning this Motion and are in ongoing discussions to resolve the

dispute.

     I.   INTRODUCTION

          Wyndham Resort Development Corp. and Worldmark, The Club NPO (collectively,

“Wyndham”) moves this Court to compel Plaintiffs to arbitrate their claims pursuant to the Retail

Installment Contract signed by Plaintiffs. Plaintiffs allege that they “purchased a Wyndham

timeshare” based on purported “false representations” made by Wyndham sales agents. Compl.

¶¶ 16–18. As discussed below, Plaintiffs purchased that timeshare via a valid Retail Installment

Contract pursuant to which Plaintiffs agreed that “any dispute, claim, suit, demand, or

controversy arising out of or relating to this Agreement . . . shall be determined exclusively and

finally by individual arbitration[.]”1 Accordingly, this Court should find that Plaintiffs are bound
to arbitrate their claims and dismiss this action.

    II.   STATEMENT OF FACTS

          Plaintiffs allege that in April 2019, while on vacation in Seaside, Oregon, a Wyndham

sales agent offered Plaintiffs incentives to attend a timeshare sales presentation, and Plaintiffs

agreed. Compl. ¶¶20–22. Plaintiffs further allege that during the sales presentation, Wyndham

sales agents made purported false representations that induced Plaintiffs to purchase a Wyndham



1
  A copy of the Retail Installment Contract is attached to the Declaration of Wyndham’s counsel,
Meredith Bateman (“Bateman Decl.”) as Exhibit A. While Plaintiffs do not specifically identify
the Retail Installment Contract in their Complaint, it is incorporated by reference. See Compl.
¶ 18 (alleging Plaintiffs “purchased a Wyndham timeshare”); Id. ¶ 28 (alleging Plaintiffs
“purchased a Wyndham timeshare for a total price of $35,644.60.”); Id. ¶ 29 (alleging Plaintiffs
“went home satisfied with their purchase.”); Id. ¶ 35 (noting the “documents they had signed” to
purchase their timeshare); Id. Prayer for Relief A (“Rescind all agreements between Wyndham
and the Campbells”). Because the agreement is incorporated by reference into the Complaint,
the Court can properly consider the Retail Installment Contract t when deciding this motion.
See, e.g., Deloe v. Dep’t Nat’l Bank, 2018 U.S. Dist. LEXIS 239247, at *2 (D. Or. Mar. 23,
2018) (noting that a “court may consider documents outside the pleadings when ruling on a
motion to compel arbitration under the FAA”).

PAGE 2 – DEFENDANTS’ MOTION TO DISMISS AND/OR                                            K&L GATES LLP
                                                                                    ONE SW COLUMBIA STREET
TO COMPEL PLAINTIFFS TO PARTICIPATE IN ARBITRATION                                         SUITE 1900
307364938 v5                                                                           PORTLAND, OR 97204
                                                                                     TELEPHONE: (503) 228-3200
               Case 3:20-cv-01296-SI     Document 7       Filed 08/11/20     Page 3 of 7




timeshare for $35,644.60. Id. ¶ ¶ 24–28. Plaintiffs allege that after they purchased the

timeshare, they “realized they were stuck with an economically worthless timeshare with

severely constrained reservation availability.” Id. ¶ 34. Plaintiffs then sued Wyndham asserting

claims of fraud, violation of ORS § 94.940 (timeshare regulations), and unfair trade practices in

the Circuit Court for Clatsop County. Wyndham then removed the case to this Court.

         Plaintiffs signed a Retail Installment Contract to purchase their timeshare on April 8,

2019. 2 That Retail Installment Contract provides:

         The parties agree that any dispute, claim, suit, demand, or controversy arising out
         of or relating to this Agreement (any ‘Dispute’) shall be determined exclusively
         and finally by individual arbitration, except as specified below. ‘Dispute’
         includes, without limitation, any claim regarding any breach, termination,
         enforcement, interpretation, or validity of this Agreement, any claim arising out of
         or relating to the marketing, purchase, and/or use of [Plaintiffs’] Ownership,
         [Plaintiffs’] use of [Wyndham’s] properties, and/or [Plaintiffs’] participation in
         any activities/events sponsored, organized, or made available by [Wyndham] or
         its affiliates.
Bateman Decl., Exhibit A, § H.32(a) (emphasis added). The Retail Installment Contract further

provides that the “arbitration agreement is governed by the Federal Arbitration Act (“FAA”) (9

U.S.C. § 1 et seq.). The arbitration shall be administered by the AAA under its Consumer

Arbitration Rules . . . the (‘AAA Rules’).” Id. § H.32(b).

III.     ARGUMENT

         The FAA provides that written agreements to arbitrate disputes arising out of transactions

involving interstate commerce “shall be valid, irrevocable, and enforceable, save upon such

grounds as exist at law or in equity for the revocation of any contract.” 9 U.S.C. § 2. “The text

of the FAA ‘leaves no place for the exercise of discretion by a district court, but instead

mandates that district courts shall direct the parties to proceed to arbitration on issues as to which

an arbitration agreement has been signed.’” Campos v. Bluestem Brands, Inc., 2015 U.S. Dist.

LEXIS 132538, at *3 (D. Or. Sept. 30, 2015) (quoting Dean Wittern Reynolds, Inc. v. Byrd, 470


2
    Bateman Decl., Exhibit A.

PAGE 3 – DEFENDANTS’ MOTION TO DISMISS AND/OR                                            K&L GATES LLP
                                                                                    ONE SW COLUMBIA STREET
TO COMPEL PLAINTIFFS TO PARTICIPATE IN ARBITRATION                                         SUITE 1900
307364938 v5                                                                           PORTLAND, OR 97204
                                                                                     TELEPHONE: (503) 228-3200
               Case 3:20-cv-01296-SI   Document 7       Filed 08/11/20     Page 4 of 7




U.S. 213, 2188, 105 S. Ct. 1238 (1985)). Accordingly, a court’s role is limited to determining

(1) whether an arbitration agreement exists between the parties, and if so, (2) whether the scope

of that agreement to arbitrate encompasses the claims at issue. Campos, 2015 U.S. Dist. LEXIS

at *3 (citing Chiron Corp. v. Ortho Diagnostic Sys., Inc., 207 F.3d 1126, 1130 (9th Cir. 2000)).

        Regarding the first prong, Wyndham must prove the “‘existence of an agreement to

arbitrate by a preponderance of the evidence.’” Deloe v. Dep’t Stores Nat’l Bank, 2018 U.S.

Dist. LEXIS 2392457, at *9 (D. Or. Mar. 23, 2018) (quoting Knutson v. Sirius XM Radio Inc.,

771 F.3d 559, 565 (9th Cir. 2014)). “In determining whether parties have entered into a binding

arbitration agreement, federal courts ‘apply ordinary state-law principles that govern the

formation of contracts.’” Id. (quoting First Options of Chi., Inc. v. Kaplan, 514 U.S. 938, 944

(1995)). Under Oregon law, “‘ [w]hether a contract existed is a question of law.’” Campos v.

Bluestem Brands, Inc., 2016 U.S. Dist. LEXIS 7592, at *21 (D. Or. Jan. 22, 2016) (quoting Ken

Hood Constr. Co. v. Pac. Coast Constr., Inc., 201 Ore. App. 568, 577, 120 P.3d 6 (Or. 2005)).

Parties create a contract through “a manifestation of mutual asset to the exchange and a

consideration. . . . The manifestation of a mutual assent to an exchange ordinarily takes the form

of an offer or proposal by one party following by an acceptance by the other party or parties.”

Id. To determine whether a contract existed, courts only look to “the parties’ objective

manifestation of intent, as evidenced by their communications and acts.” Id.

        Here, an agreement to arbitration exists between the parties. See Bateman Decl., Exhibit

A. Plaintiffs signed the Retail Installment Contract on April 8, 2019, pursuant to which Plaintiffs

agreed to pay Wyndham $35,644.60 in exchange for Plaintiffs’ timeshare. Id. Indeed, Plaintiffs’

claims are solely based on the contract they entered to purchase their timeshare. See Compl. ¶ 18

(alleging Plaintiffs “purchased a Wyndham timeshare”); Id. ¶ 28 (alleging Plaintiffs “purchased

a Wyndham timeshare for a total price of $35,644.60.”); Id. ¶ 29 (alleging Plaintiffs “went home

satisfied with their purchase.”); Id. ¶ 35 (noting the “documents they had signed” to purchase

their timeshare); Id. Prayer for Relief A (“Rescind all agreements between Wyndham and the


PAGE 4 – DEFENDANTS’ MOTION TO DISMISS AND/OR                                          K&L GATES LLP
                                                                                  ONE SW COLUMBIA STREET
TO COMPEL PLAINTIFFS TO PARTICIPATE IN ARBITRATION                                       SUITE 1900
307364938 v5                                                                         PORTLAND, OR 97204
                                                                                   TELEPHONE: (503) 228-3200
               Case 3:20-cv-01296-SI      Document 7       Filed 08/11/20      Page 5 of 7




Campbells”). Accordingly, the parties entered a valid agreement that contains an arbitration

provision.

        Regarding the second prong, “the scope of an arbitration agreement is governed by

federal substantive law.” Simula, Inc. v. Autoliv, Inc., 175 F.3d 716, 719 (9th Cir. 1999). If a

contract contains an arbitration clause, there is a presumption that the dispute is arbitrable.

AT&T Techs., Inc. v. Commc’ns Workers of America, 475 U.S. 643, 650 (1986). Further,

“incorporating the AAA rules show unmistakable evidence that parties agreed to arbitrate

arbitrability[.]” Varcak v. Envoy Mortg., Ltd., 2019 U.S. Dist. LEXIS 217138, at *16 (D. Or.

Nov. 22, 2019). “[A]ny doubts concerning the scope of arbitrable issues should be resolved in

favor of arbitration.” Campos, 2015 U.S. Dist. LEXIS at *2–3 (citing Moses H. Cone Mem’l

Hosp. v. Mercury Const. Corp., 460 U.S. 1, 24–25 (1983)).
        Here, Plaintiffs’ claims fall squarely within the scope of the arbitration provision. The

provision provides that “any dispute, claim, suit, demand or controversy arising out of or relating

to this Agreement (any ‘Dispute’) shall be determined exclusively and finally by individual

arbitration[.]” Bateman Decl., Exhibit A, § H.32(a). “Dispute” is defined to include “any claim

arising out of or relating to the marketing, purchase, and/or use” of Plaintiffs’ timeshare. Id.

(emphasis added). Plaintiffs allege fraud, a violation of ORS § 94.940 (timeshare regulations),

and unfair trade practices resulting from the purported misrepresentations made during the

marketing of the timeshare ultimately purchased by Plaintiffs, all of which are covered by the

plain language of the arbitration provision.

        Moreover, the Parties’ arbitration agreement contains an additional agreement to arbitrate

the threshold issue of arbitrability by an arbitrator, not the court. In particular, the arbitration

agreement provides that it will be administered by the AAA under its Consumer Arbitration

Rules. Rule R-14(a) of the AAA’s Consumer Arbitration Rules states:
       The arbitrator shall have the power to rule on his or her own jurisdiction,
       including any objections with respect to the existence, scope, or validity of the
       arbitration agreement or to the arbitrability of any claim or counterclaim.


PAGE 5 – DEFENDANTS’ MOTION TO DISMISS AND/OR                                               K&L GATES LLP
                                                                                       ONE SW COLUMBIA STREET
TO COMPEL PLAINTIFFS TO PARTICIPATE IN ARBITRATION                                            SUITE 1900
307364938 v5                                                                              PORTLAND, OR 97204
                                                                                        TELEPHONE: (503) 228-3200
               Case 3:20-cv-01296-SI     Document 7       Filed 08/11/20     Page 6 of 7




        The parties’ incorporation of the AAA rules is “unmistakable evidence that [the] parties

agreed to arbitrate arbitrability,” even if the issue were in doubt, under the FAA any such doubts

must be resolved in favor of arbitration. Varcak, 2019 U.S. Dist. LEXIS 217138, at *16;

Campos, 2015 U.S. Dist. LEXIS, at *2–3.

        Because an arbitration agreement encompassing Plaintiffs’ claims exists, this Court

should either compel Plaintiffs to arbitrate their claims and dismiss this action 3, or simply

dismiss this action.

IV.     CONCLUSION

        Wyndham respectfully requests that the Court grant its Motion to Dismiss and/or to

Compel Plaintiffs to Participate in Arbitration for the reasons set forth herein.

DATED: August 11, 2020.                        K&L GATES LLP

                                               By: s/Meredith D.M. Bateman
                                               Meredith D.M. Bateman, OSB #192273
                                               Email: meredith.bateman@klgates.com
                                               David Neu, admitted pro hac vice
                                               Email: david.neu@klgates.com
                                               Attorneys for Defendants Wyndham Resort
                                               Development Corp. and Worldmark, The Club NPO




3
  Under section 3 of the FAA, the Court has authority, upon application by one of the parties, to
grant a stay pending arbitration, but also may dismiss all claims barred by an arbitration clause.
Sparling v. Hoffman Constr. Co., Inc., 864 F.2d 635, 638 (9th Cir. 1988), cert. denied, 507 U.S.
911 (1993); see also Martin Marietta Aluminum, Inc. v. Gen. Elec. Co.,586 F.2d 143, 147 (9th
Cir. 1978) (holding that court has discretion to grant summary judgment when all of plaintiff’s
claims were barred by arbitration clause). Other courts have chosen to stay a case pending
arbitration rather than dismiss it, even when confronted with an arbitration clause that covers all
the claims. See, e.g., Bosinger v. Phillips Plastics Corp., 57 F. Supp. 2d 986, 993 n.7 (S.D. Cal.
1999). In this case, there is no reason to stay the claim pending arbitration because all of
Plaintiffs’ claims are subject to arbitration. Accordingly, once the claims are resolved in
arbitration, nothing will remain for the Court to resolve after arbitration is completed. See
Sparling, 864 F.2d at 638.


PAGE 6 – DEFENDANTS’ MOTION TO DISMISS AND/OR                                            K&L GATES LLP
                                                                                    ONE SW COLUMBIA STREET
TO COMPEL PLAINTIFFS TO PARTICIPATE IN ARBITRATION                                         SUITE 1900
307364938 v5                                                                           PORTLAND, OR 97204
                                                                                     TELEPHONE: (503) 228-3200
               Case 3:20-cv-01296-SI   Document 7       Filed 08/11/20    Page 7 of 7



                                CERTIFICATE OF SERVICE

     I hereby certify that I caused a true and correct copy of DEFENDANTS’ MOTION TO

DISMISS AND/OR TO COMPEL PLAINTIFFS TO PARTICIPATE IN ARBITRATION to be

served upon all counsel of record to this matter listed below on this 11th day of August, 2020,

via Email and U.S. Mail.

        Conner Spani, OSB #192828
        Granite Spire Law Group, PLLC
        2003 Western Ave., Suite 345
        Seattle, WA 98121
        Tel: (206) 579-8781
        Email: spani_conner@yahoo.com

        DATED this 11th day of August, 2020.


                                             s/Meredith D.M. Bateman
                                             Meredith D.M. Bateman, OSB #192273




PAGE 7 – DEFENDANTS’ MOTION TO DISMISS AND/OR                                         K&L GATES LLP
                                                                                 ONE SW COLUMBIA STREET
TO COMPEL PLAINTIFFS TO PARTICIPATE IN ARBITRATION                                      SUITE 1900
307364938 v5                                                                        PORTLAND, OR 97204
                                                                                  TELEPHONE: (503) 228-3200
